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  THIRD SUPPLEMENT TO
      SENTENCING
     MEMORANDUM

LETTERS OF SUPPORT FOR
      RISHI SHAH
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                                            June 24, 2024

Hon. Judge Thomas M. Durkin
U.S. District Court
Norther District of Illinois

                                            Re: Rishi Shah

Dear Judge Durkin:

I write as a former attorney for Mr. Shah at the time, I believe in the summer of 2017,
when there were concerns about the reported revenues of the company and services
provided to customers. I assessed that the rumors about these concerns needed to be
addressed by an independent outside investigator.

I recommended to Mr. Shah that he retain one of the most respected former United
States Attorneys in the US, still to this day: Mr. Dan Webb, the chairman of Winston &
Strawn, to conduct an independent investigation. I asked Mr. Shah to commit ahead of
time to Mr. Webb and to me that the results of Mr. Webb’s investigation could be made
available, on request, to all the key stakeholders, such as the board of directors,
management, employees, customers, investors. Mr. Shah agreed immediately.

I also recommended that he assure Mr. Webb full access to all emails, documents, text
messages, etc., there would be no restrictions on his access to any information he
believed he needed to complete his investigation and that all of Mr. Webb’s and his
team’s interviews would be conducted privately, without any company representative
present, including company counsel. Mr. Shah agreed immediately. And it is my
understanding that was, indeed, what happened and Mr. Webb completed his
investigation as agreed.

This concept of proactive transparency on facts to address legal crises was the subject
of a book I wrote after serving as President Bill Clinton’s White House Special Counsel.
in 1996-98.1 I have provided similar advice to other companies since then to address
concerns about the facts and company practices. I regarded the reaction of those
company executives whom I advised to follow this strategy as telling. If there was
hesitancy or opposition to this advice, it sometimes caused my suspicions to increase --
that there might be something to hide.


1 Truth to Tell: Tell It Early, Tell It All, Tell It Yourself: Notes from My White House Education (Free

Press, 1999).
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But in Mr. Shah’s case, there was no hesitation. He immediately agreed, retained Mr.
Webb, agreed to all conditions. I left the representation of the company shortly after
Mr. Webb was appointed. I subsequently had the impression that all the commitments
by Mr. Shah made to Mr. Webb were kept.

I am writing you, your honor, to request that when making your decision on the
appropriate sentence for Mr. Shah you consider Mr. Shah’s support for this
independent investigation and making the results available come what may.

I talked to Mr. Shah today and tonight. I personally was impressed by the sincerity of
his remorse, his acknowledgment of the serious mistakes he had made as CEO of
Outcome Health, and lessons learned that he wishes to share with others in the
business world, senior and junior.

Mr. Shah told me he respects the rule of law, the system of justice, and the jury’s
verdict. I know he is especially remorseful about the pain he caused his colleagues
who offer are now paying the legal penalty. And is sorrowful for that pain.

I hope this letter is helpful to you in reaching a decision on a sentence that is just and
fair.

Sincerely,




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